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                                          15                              UNITED STATES DISTRICT COURT
                                          16                             NORTHERN DISTRICT OF CALIFORNIA
                                          17                                  SAN FRANCISCO DIVISION
                                          18

                                          19                                               Master File No.: 3:19-cv-02546-CRB
                                               IN RE INTUIT FREE FILE LITIGATION
                                          20                                               DEFENDANT INTUIT INC.’S NOTICE
                                               This Document Relates to: All Actions       OF APPEAL
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                                                                                           Date Action Filed: May 1, 2019
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                                                INTUIT’S NOTICE OF APPEAL                                CASE NO.: 3:19-cv-02546-CRB
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                                           1          TO:     PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:

                                           2   NOTICE IS HEREBY GIVEN that Intuit Inc. (“Intuit”), defendant in the above-named case,

                                           3   hereby appeals to the United States Court of Appeals for the Ninth Circuit from the Order

                                           4   Denying Motion To Compel Arbitration entered in this action on March 12, 2020 (Dkt. No. 141,

                                           5   the “Order”), and all portions of such Order. The fees have been paid for appeal. This is not a

                                           6   cross-appeal and there has been no previous appeal in this matter. The Order is immediately

                                           7   appealable under the Federal Arbitration Act, 9 U.S.C. § 16(a)(1)(B).

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                                          11   Dated: March 17, 2020                        FENWICK & WEST LLP
                                          12                                                By: /s/Laurence F. Pulgram
F ENWICK & W EST LLP




                                                                                                Laurence F. Pulgram
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                                           1                            RULE 3-2 REPRESENTATION STATEMENT

                                           2          The undersigned represents Intuit Inc., defendant and appellant in this matter, and no other

                                           3   party. The following is a list of all of the parties to the action and the information regarding their

                                           4   counsel. See F.R.A.P. 12(b); Ninth Circuit Rule 3-2(b).

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                                                Case 3:19-cv-02546-CRB Document 142 Filed 03/17/20 Page 4 of 4



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                                           3   Dated: March 17, 2020             FENWICK & WEST LLP

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                                                INTUIT’S NOTICE OF APPEAL           2                  CASE NO.: 3:19-cv-02546-CRB
